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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

RICHARD DENNIS, SONTERRA CAPITAL MASTER
FUND, LTD., FRONTPOINT FINANCIAL SERVICES
FUND, L.P., FRONTPOINT ASIAN EVENT DRIVEN FUND,
L.P., FRONTPOINT FINANCIAL HORIZONS FUND, L.P.,
and ORANGE COUNTY EMPLOYEES RETIREMENT                   Docket No. 16-cv-06496 (LAK)
SYSTEM, on behalf of themselves and all others similarly
situated,

                          Plaintiffs,

            -against-

JPMORGAN CHASE & CO., JPMORGAN CHASE BANK,
N.A., BNP PARIBAS, S.A., THE ROYAL BANK OF
SCOTLAND GROUP PLC, THE ROYAL BANK OF
SCOTLAND PLC, RBS N.V., RBS GROUP (AUSTRALIA)
PTY LIMITED, UBS AG, AUSTRALIA AND NEW
ZEALAND BANKING GROUP LTD., COMMONWEALTH
BANK OF AUSTRALIA, NATIONAL AUSTRALIA BANK
LIMITED, WESTPAC BANKING CORPORATION,
DEUTSCHE BANK AG, HSBC HOLDINGS PLC, HSBC
BANK AUSTRALIA LIMITED, LLOYDS BANKING
GROUP PLC, LLOYDS BANK PLC, MACQUARIE GROUP
LTD., MACQUARIE BANK LTD., ROYAL BANK OF
CANADA, RBC CAPITAL MARKETS LLC, MORGAN
STANLEY, MORGAN STANLEY AUSTRALIA LIMITED,
CREDIT SUISSE GROUP AG, CREDIT SUISSE AG, ICAP
PLC, ICAP AUSTRALIA PTY LTD., TULLETT PREBON
PLC, TULLETT PREBON (AUSTRALIA) PTY LTD., AND
JOHN DOES NOS. 1-50.

                            Defendants.


                             DECLARATION OF LINDA V. YOUNG
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            Pursuant to 28 U.S.C. §1746, I, Linda V. Young, declare:

            1.     I am the Vice President, Media with A.B. Data, Ltd.’s Class Action Administration

Company (“A.B. Data”). I submit this Declaration at the request of Plaintiffs’ Counsel in

connection with the above-captioned action (the “Action”).

            2.     This Declaration is based upon my personal knowledge of and upon information

provided by Plaintiffs’ Counsel, my associates, and A.B. Data staff members. The information is

of a type reasonably relied upon in the fields of media, advertising, and communications.

       3.          This Declaration details a notice plan for the Action (the “Proposed Notice Plan”)

designed to provide notice to members of the Settlement Class, which is defined as follows:

         All Persons (including both natural persons and entities) who purchased, acquired,
         sold, held, traded, or otherwise had any interest in, BBSW-Based Derivatives
         during the period January 1, 2003 through August 16, 2016, inclusive (“Settlement
         Class Period”), provided that, if Representative Plaintiffs expand the putative or
         certified class in this Action in or through any subsequent amended complaint, class
         motion, or Other Settlement, the defined Settlement Class in this Order and the
         Settlement Agreement shall be expanded so as to be coterminous with such
         expansion. Excluded from the Settlement Class are the Defendants and any parent,
         subsidiary, affiliate or agent of any Defendant or any co-conspirator whether or not
         named as a Defendant, and the United States Government. 1

            4.     The Proposed Notice Plan described herein includes direct mail notice, print-media

and electronic-media.




1
  Notwithstanding the sentence above that “[e]xcluded from the Settlement Class are the Defendants and any parent,
subsidiary, affiliate or agent of any Defendant or any co-conspirator whether or not named as a Defendant, and the
United States Government,” and solely for purposes of this Settlement and this Settlement Class, Investment
Vehicles are not to be excluded from the Settlement Class solely on the basis of being deemed to be Defendants or
affiliates, subsidiaries, parents or agents of Defendants or controlled by Defendants or affiliates, subsidiaries, parents
or agents of Defendants. However, to the extent that any Defendant or any entity that might be deemed to be an
affiliate, subsidiary, parent or agent thereof (i) managed or advised, and (ii) directly or indirectly held a beneficial
interest in, said Investment Vehicle during the Class Period, that beneficial interest in the Investment Vehicle is
excluded from the Settlement Class. “Investment Vehicles” means any investment company, separately managed
account or pooled investment fund, including, but not limited to: (i) mutual fund families, exchange-traded funds,
fund of funds and hedge funds; and (ii) employee benefit plans.

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                                             DIRECT MAIL NOTICE

        5.       The full-length mail notice will be mailed directly to the following potential

Settlement Class Members: (a) known counterparties of JPMorgan Chase & Co. and JPMorgan

Chase Bank, N.A. (“JPMorgan”), Westpac Banking Corporation (“Westpac”), Australia and New

Zealand Banking Group Ltd. (“ANZ”), Commonwealth Bank of Australia (“CBA”), National

Australia Bank Limited (“NAB”), Morgan Stanley and Morgan Stanley Australia Limited

(“Morgan Stanley,” and collectively with JPMorgan, Westpac, ANZ, CBA, and NAB, the

“Settling Defendants”) for BBSW-Based Derivatives during the Class Period based on

transactional and other data provided by (or to be provided by) Settling Defendants; (b) non-

settling Defendants’ known counterparties for BBSW-Based Derivatives, to the extent they are

identified during the course of discovery and prior to the deadline to complete mailing pursuant to

this Order; (c) market participants that have provided names of counterparties in BBSW-Based

Derivatives pursuant to a subpoena or will provide this information prior to the deadline to

complete mailing pursuant to this Order; and (d) A.B. Data’s proprietary list of banks, brokers,

and other nominees, which are likely to trade or hold BBSW-Based Derivatives on behalf of

themselves and/or their clients. 2 Brokerage firms, swaps dealers, or trustees that traded BBSW-

Based Derivatives on behalf of customers will be instructed to either (a) forward the notice on to

their customers or (b) provide a customer list so that the Settlement Administrator can notify those

customers directly.




2
  AB Data’s propriety list includes: agents and brokers selling FOREX services; senior executives of hedge funds,
investment banks, and real-estate companies; currency traders dealing with the Australian Dollar; pension-fund
managers and derivative traders; FOREX market traders; the largest traders on the Chicago Mercantile Exchange;
ISDA members; and the largest banks and brokerage houses.

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                                PAID AND EARNED MEDIA NOTICE

       6.      To reach unidentifiable Class members, A.B. Data recommends the use of paid and

earned media. Paid-media advertising is guaranteed to appear. Paid-media also allows for limited

control of the content, timing, and positioning of the message. Newspapers, magazines,

newsletters, and the internet, among other sources, offer paid-media opportunities. A.B. Data

researched data regarding the target audience’s media consumption, determining the most

appropriate media vehicles that would best deliver potential Class Members and provide them with

the opportunity to see and respond to the notice. The print-media and electronic media notice

efforts include placements in the following: (a) one-time advertisements in the Wall Street Journal,

Investor’s Business Daily, The Financial Times - U.S. Circulation, Stocks & Commodities, Global

Capital, Hedge Fund Alert (digital edition), and Grant’s Interest Rate Observer; (b) banner

advertisements running for at least two weeks on websites Zacks.com, Traders.com,

GlobalInvestorGroup.com, and GlobalCapital.com; (c) banner advertisements running at least

once in e-newsletters from Global Investor Group, Stocks & Commodities, Zacks.com, and

Barchart.com; (d) one email “blast” to subscribers of Stocks & Commodities and Zacks.com; and

(e) one news release via PR Newswire’s US1 Newsline. News about the case will also be broadcast

to the news media via Twitter. It will be tweeted from PR Newswire’s and A.B. Data’s Twitter

accounts to thousands of news media reporters and other followers. Details concerning print and

electronic media, including circulation and editorial focus, are set forth in Exhibit A hereto.

                                   NOTICE DESIGN STRATEGIES

       7.      The Federal Rules of Civil Procedure (“Fed. R. Civ. P.”) require notices in class

action cases to be written in “plain, easily understood language.” Fed. R. Civ. P. 23(c)(2)(B). This

process has been utilized in developing the Long Form Notice and Short Form Summary Notice



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for this case. A.B. Data is committed to adhering to the easily understood language requirement

of Rule 23(c)(2) and Rule 23(b)(3). The plain language Media Notice developed for this plan will

be designed to be easily seen by potential Class Members with a large, bold headline. The plain,

easily understood language in the text of the Notice will allow potential Class Members the

opportunity to read it at their leisure and ensure they understand the subject of the case, the steps

they must take to join the Class, and the legal rights of all Class Members.

       8.      All printed notices will include a toll-free telephone number and the case website

address for potential Settlement Class Members to request or access the notices. The online banner

and text ads will each include the website address and a link to the case website.

       9.      A case-specific website will be listed with major search engines to enable

Settlement Class Members to get information about the Settlements. Settlement Class Members

will also have access through this website to relevant case information and updates, key

documents,    and    applicable   deadlines.      The    case-specific   website    is   available   at

http://www.BBSWSettlement.com.

       10.     A.B. Data will establish and maintain a case-specific toll-free telephone number to

support the Settlements, with live operators during business hours. Services will specifically

include the following: (a) inbound toll-free line; (b) interactive voice response (“IVR”) system; (c)

live operators during business hours; (d) all scripts developed by our experts and approved by

Plaintiffs’ Counsel; and (e) detailed reporting on the quantity and length of calls, both in time spent

with live operators and time spent in the IVR system.

                                   RELEVANT EXPERIENCE

       11.     As the Vice President, Media for the Class Action Administration Company of A.B.

Data, Ltd., I provide a broad range of services, including market research and analysis, creative

development, advertising, and marketing planning. My curriculum vitae is attached as Exhibit B.

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       12.     I have developed and directed some of the largest and most complex national

notification programs in the United States. The scope of my work includes notification programs

in commodities, antitrust, securities, consumer, ERISA, and insurance settlements. I have

developed or consulted on more than 100 notification programs, placing millions of dollars’ worth

of media notice. Selected cases are attached to my curriculum vitae in Exhibit B.

       13.     Additionally, A.B. Data and its staff members have developed and implemented

notice plans in numerous antitrust cases in this District, including In re LIBOR-Based Financial

Instruments Antitrust Litigation, No. 11 MDL 2262 (NRB) (S.D.N.Y.) (Exchange-Based Action);

Sullivan et al. v. Barclays plc et al, No. 13-cv-2811 (PKC) (S.D.N.Y.); Laydon v. Mizuho Bank

Ltd. et al., No. 12-cv-3419 (GBD) (S.D.N.Y.) and Sonterra Capital Master Fund, Ltd. et al. v.

UBS AG et al., No. 15-cv-5844 (GBD) (S.D.N.Y.).

       14.     A.B. Data has also been appointed as Notice, Claims, and/or Settlement

Administrator in hundreds of high-volume commodities, antitrust, securities, consumer, civil

rights, insurance, ERISA, and wage and hour cases, administering some of the largest and most

complex class action settlements of all time, involving all aspects of media, direct, and third-party

notice programs, data management, claims administration, and settlement fund distribution.

                                         CONCLUSION

       15.     It is my opinion that the Proposed Notice Plan is the best notice practicable under

the circumstances and is designed to effectively reach members of the Settlement Class. This

Proposed Notice Plan conforms to the standards employed by A.B. Data in similar notification

programs designed to reach groups or classes in commodities and antitrust cases. This includes

notice plans in the following commodities and antitrust cases: (a) Laydon v. Mizuho Bank Ltd., et

al., No. 12-cv-3419 (GBD) (S.D.N.Y.); (b) Sonterra Capital Master Fund, Ltd., et al. v. UBS AG,



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et al., No. 15-cv-5844 (GBD) (S.D.N.Y); and (c) Sullivan, et al. v. Barclays plc, et al., No. 13-cv-

2811 (PKC) (S.D.N.Y.). The efforts described herein reflect a strategic, microtargeted, and

contemporary method to deploy Class Notice to potential members of the Class. The Proposed

Notice Plan summarized in this document provides a reach and frequency similar to those that

courts have approved and that are recommended by the Federal Judicial Center’s Judges’ Class

Action Notice and Claims Process Checklist and Plain Language Guide.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed in Greenville, South Carolina on January 13, 2022.




                                                     __________________________________
                                                             Linda V. Young




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                               EXHIBIT A




Publication Name/Website                https://www.wsj.com/
Media Tactics                           Publish Summary Notice one time
Publishing Frequency                    Monday – Saturday
Circulation                             1,322,000
                                        Publishing original business news and
Editorial Focus                         financial information with expanded content
                                        in arts, culture, lifestyle, and sports.




Publication Name/Website            https://www.investors.com/
Media Tactics                       Publish Summary Notice one time
                                    Weekly on Monday; available online the
Publishing Frequency
                                    Saturday prior
Circulation                         90,000
                                    An authoritative financial news and research
                                    organization recognized for its proprietary
Editorial Focus                     investing screens, investment ratings, and
                                    strong record of identifying market leaders as
                                    they emerge.




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Publication Name/Website                https://www.ft.com/
                                        Publish Summary Notice one time to U.S.
Media Tactics
                                        audience
Publishing Frequency                    Monday - Friday
Circulation                             28,879
                                        One of the world’s leading business and
                                        financial news publications providing
Editorial Focus
                                        essential news, commentary, data, and
                                        analysis for the global business community.




Publication Name/Website                http://traders.com/
                                        Publish Summary Notice one time;
                                        email blast of Summary Notice to digital
Media Tactics                           subscribers;
                                        banner ads on e-newsletters;
                                        30-day banner ad campaign
Publishing Frequency                    Monthly; on 15th of the month
Circulation                             Monthly magazine -34,000
                                        Website – Average 110,000 unique
                                        visitors/month
                                        Enewsletter – 200,000
                                        Email blast – 150,000
                                        Provides information on how to apply
                                        technical analysis tools to charting, numerical,
Editorial Focus                         and computer methods for trading stocks,
                                        bonds, mutual funds, options, and
                                        commodities.




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Publication Name/Website            https://www.globalcapital.com/
                                    Publish Summary Notice one time;
Media Tactics
                                    30-day global banner ad campaign on website
Publishing Frequency                Published most weeks on Thursday
Circulation                         Average monthly unique visitors 205,700
                                    A leading news, opinion, and data service for
                                    people and institutions using and working in
Editorial Focus                     the international capital markets. It provides
                                    readers with clear voices and lively coverage
                                    of key markets based on the comments of those
                                    who work in them.




Publication Name/Website            https://www.grantspub.com/
Media Tactics                       Publish Summary Notice one time
Publishing Frequency                24 times annually
Circulation                         6,200
                                    An independent, value-oriented, and contrary-
                                    minded journal of the financial markets with
Editorial Focus                     clear and unconventional thinking, micro and
                                    macro analysis, and speculation about the
                                    future informed by knowledge of the past.




Publication Name/Website               https://hfalert.com/
                                       Publish Summary Notice one time in digital
Media Tactics
                                       edition of magazine
Publishing Frequency                   47 times annually
Circulation                            2,500
                                       Offers breaking news in the worldwide
                                       alternative investment business along with a
                                       steady flow of unbiased reporting on behind
Editorial Focus                        the scenes developments affecting fund
                                       managers, their investors, and service
                                       providers. Subscribers pay $4,797 for an
                                       annual subscription.




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Publication Name/Website            BarChart.com
Media Tactics                       Banner ad on daily e-newsletter for 30 days
Publishing Frequency                Daily
                                    40,316 subscribers; website has over 100,000
Circulation
                                    unique visitors monthly
                                    Delivers financial, commodities, and futures
                                    market data to professionals in the financial
Editorial Focus
                                    services, trading, investment firms, and
                                    commodity services industries.




                                   Global Investor Group
                                   https://www.globalinvestorgroup.com/
Publication Name/Website
                                   recently merged with FOW (Future Options
                                   World)
                                   30-day global banner ad campaign on website;
Media Tactics
                                   banner ad on e-newsletter
Publishing Frequency               Magazine - 5 times annually
                                   Average 20,000 unique monthly visitors with
Circulation
                                   over 50,000 page views
                                   Daily updates from the futures and derivatives
                                   industry along with investment strategies,
Editorial Focus                    market trends, institutional investment,
                                   regulation, corporate strategy, custody and
                                   fund services.




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Publication Name/Website            Zacks.com
                                    30-day banner ad campaign on website; email
Media Tactics
                                    blast; e-newsletter banner ads
Publishing Frequency                N/A
Circulation                         500,000 unique visitors monthly
                                    Delivers financial, commodities, and futures
                                    market data to professionals in the financial
Editorial Focus
                                    services, trading, investment firms, and
                                    commodity services industries.




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                                    EXHIBIT B



                            LINDA V. YOUNG
                        Linda.Young@abdata.com


   EXPERIENCE


        A.B. Data, Ltd., Milwaukee, WI


        Vice President, Media


     Lead the A.B. Data Class Action Administration media team in research,
     development, and implementation of media notice plans for settlements and
     other class action administrations. Cases include the following:


     Antitrust/Commodities Cases


         •   Hospital Authority of Metropolitan Government of Nashville and Davidson

             County, Tennessee v. Momenta Pharmaceuticals, Inc. et al., (Case No. 3:15-

             cv-01100) (M.D. Tenn.);

         •   Laydon v. Mizuho Bank, Ltd., et al., No. 12-CV-3419 (GBD) and Sonterra

             Capital Master Fund Ltd., et al. v. UBS AG, et al., No. 15-CV-5844 (GBD),

             United States District Court, Southern District of New York;

         •   Sullivan v. Barclays plc et al., No. 13-cv-028111 (PKC), United States District

             Court, Southern District of New York;

         •   In re Loestrin 24 FE Antitrust Litigation, Case No. MDL 2472, United States

             District Court, District of Rhode Island;


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         •   In re Resistors Antitrust Litigation No. 3:15-cv-03820-JD, United States

             District Court, Northern District of California, San Francisco Division;

         •   In re Qualcomm Antitrust Litigation, No. 17-md-02773-LHK, United States

             District Court, Northern District of California, San Jose Division;

         •   State of Washington v. LG Electronics, Inc., et al., No. 12-2-15842-8 SEA, State

             of Washington, King County Superior Court;

         •   The State of New York, et al. v. Cephalon, Inc., et al., No. 16-cv-4234-MSG,

             United States District Court, Eastern District of Pennsylvania;

         •   In re Liquid Aluminum Sulfate Antitrust Litigation, No. 16-md-2687 (JLL)

             (JAD), United States District Court, District of New Jersey;

         •   In re Aggrenox Antitrust Litigation, No. 3:14-md-02516 (SRU), United States

             District Court, District of Connecticut;

         •   In re Solodyn (Minocycline Hydrochloride) Antitrust Litigation (All End-Payor

             Actions), MDL No. 14-MD-2503-DJC, United States District Court, District of

             Massachusetts;

         •   In re Capacitors Antitrust Litigations: All Indirect Purchaser Actions, No. 14-

             CV-03264-JD, United States District Court, Northern District of California;

         •   In re Polyurethane Foam Antitrust Litigation, MDL Docket No. 2196, United

             States District Court, Northern District of Ohio;

         •   In re Medco Health Solutions, Inc., Pharmacy Benefits Management Litigation,

             MDL No. 1508, United States District Court, Southern District of New York;

         •   In re Warfarin Sodium Antitrust Litigation, MDL No. 98-1232 (SLR), United

             States District Court, District of Delaware;



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         •   Blevins v. Wyeth-Ayerst Laboratories, Inc. and American Home Products

             Corp., No. 324380, Superior Court of California, County of San Francisco;

         •   In re Terazosin Hydrochloride Antitrust Litigation, 99-MDL-1317, United

             States District Court, Southern District of Florida;

         •   In re Cardizem CD Antitrust Litigation, 99-MD-1278, United States District

             Court, Eastern District of Michigan;

         •   In re High Pressure Laminate Antitrust Litigation, Civil Action No. 00C-1989

             and Related Cases, Second Circuit Court for Davidson County, Tennessee, 20th

             Judicial District at Nashville;

         •   In re Pennsylvania Baycol Third-Party Payor Litigation, September Term,

             2001 No. 001874, Court of Common Pleas, Philadelphia County, South

             Carolina;

         •   In re Remeron End-Payor Antitrust Litigation, Master File No. 02-CV-2007

             (FSH), United States District Court, District of New Jersey;

         •   In re Relafen Antitrust Litigation, 01-12239-WGY, United States District

             Court, District of Massachusetts;

         •   In re Buspirone Antitrust, 01-MD-01413, United States District Court, Southern

             District of New York;

         •   Rosemarie Ryan House, et al. v. GlaxoSmithKline PLC and SmithKline

             Beecham Corporation, No. 2:02cv442, United States District Court, Eastern

             District of Virginia;

         •   Cipro Cases I and II, Judicial Council Coordination Proceedings Nos. 4154 and

             4220, Superior Court of the State of California, County of San Diego;


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         •   In re Potash Antitrust Litigation (II), No. 1:08-CV-6910, United States District

             Court, Northern District of Illinois;

         •   In re Optiver Commodities Litigation, No. 1:08-CV-06842-LAP, United States

             District Court, Southern District of New York;

         •   In re: Rough Rice Commodity Litigation, No. 11-CV-00618, United States

             District Court, Northern District of Illinois;

         •   In re Platinum and Palladium Commodities Litigation (Platinum/Palladium

             Futures Action), 10-CV-3617 (WHP) (“Futures Action”), United States District

             Court, Southern District of New York;

         •   In re Platinum and Palladium Commodities Litigation (Platinum/Palladium

             Physical Action), 10-CV-3617 (WHP) (“Physical Action”), United States

             District Court, Southern District of New York;

         •   Kamakahi and Levy v. American Society for Reproductive Medicine and Society

             for Assisted Reproductive Technology, No. 3:11-CV-1781 JCS, United States

             District Court, Northern District of California;

         •   Mahoney v. Endo Health Solutions, Inc., et al., No. 15-CV-9841 (DLC), United

             States District Court, Southern District of New York;

         •   In re London Silver Fixing, Ltd. Antitrust Litigation, Case No. 14-MD-02573-

             VEC, 14-MC-02573-VEC, United States District Court, Southern District of

             New York;

         •   In re GSE Bonds Antitrust Litigation, Case No. 1:19-cv-01704 (JSR), United

             States District Court, Southern District of New York;




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         •   The Hospital Authority of Metropolitan Government of Nashville and Davidson

             County, Tennessee, d/b/a Nashville General Hospital and American Federation

             of State, County and Municipal Employees District Council 37 Health &

             Security Plan, v. Momenta Pharmaceuticals, Inc. and Sandoz Inc., Case No.

             3:15-cv-01100, United States District Court Middle District of Tennessee,

             Nashville Division;

         •   In re Libor-Based Financial Instruments Antitrust Litigation, Metzler

             Investment GmbH, et al., v. Credit Suisse Group AG, et al. Master File No. 11-

             md-2262 (NRB) Case No. Civ. 2613 (Exchange-Based Action), United States

             District Court Southern District of New York;

         •   Laydon v. Mizuho Bank, Ltd., et al., No. 12-CV-3419 (GBD) and Sonterra

             Capital Master Fund Ltd., et al. v. UBS AG, et al. No. 15-CV-5844 (GBD),

             United States District Court, Southern District of New York;

         •   Sullivan v. Barclays plc et al., No. 13-cv-028111 (PKC), United States District

             Court, Southern District of New York;

         •   In re: EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices and

             Antitrust Litigation, MDL No: 2785 Case No. 17-md-2785-DDC-TJJ, In the

             United States District Court for the District of Kansas




     Securities Cases


         •   Elkin v. Walter Investment Management Corp., No. 2:17-cv-02025-JCJ, United

             States District Court, Eastern District of Pennsylvania;




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         •   In re Flowers Foods, Inc. Securities Litigation, No. 7:16-CV-00222 (WLS),

             United States District Court, Middle District of Georgia, Valdosta Division;

         •   Steven Lazan v. Quantum Corporation, et. al., No. 3.18-cv-00923-RS, United

             States District Court, Northern District of California;

         •   Cheng Jiangchen, Individually and on Behalf of All Others Similarly Situated

             v. Rentech, Inc., Keith B. Forman, and Jeffrey Spain, No. 2.17-cv-01490-GW-

             FFM, United States District Court, Central District of California;

         •   In re Medley Capital Stockholder Litigation, No. 2019-0100-KSJM, The Court

             of Chancery of the State of Delaware;

         •   Judith Godinez, Individually and on Behalf of All Others Similarly Situated v.

             Alere, Inc., et. al., No. 1.16-cv-10766-PBS, United States District Court,

             District of Massachusetts;

         •   Edmund Murphy III, Individually and on Behalf of All Others Similarly Situated

             v. JBS S.A., No. 1.17-cv-03084-ILG-RER, United States District Court, Eastern

             District of New York;

         •   In re Starz Stockholder Litigation, No. 12584-VCG, The Court of Chancery of

             the State of Delaware;

         •   In re Quality Systems, Inc. Securities Litigation, No. 8:13-cv-01818-CJC-JPR,

             United States District Court, Central District of California, Southern Division;

         •   In re PTC Therapeutics, Inc. Securities Litigation, No. 16-1224 (KM)(MAH),

             United States District Court, District of New Jersey;

         •   Aude, et al., v. Kobe Steel, Ltd., et al., No. 17-CV-10085-VSB, United States

             District Court, Southern District of New York;


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         •   Rahman v. GlobalSCAPE, Inc., et al., No. 5:17-cv-00753-XR, United States

             District Court, Western District of Texas;

         •   In re CytRx Corporation Securities Litigation, No. 2:16-CV-05519-SJO-SK,

             United States District Court, Central District of California;

         •   In re CPI Card Group Inc. Securities Litigation, No. 16-cv-04531 (LAK),

             United States District Court, Southern District of New York;

         •   Singh v. 21Vianet Group, Inc., No. 2:14-cv-00894-JRG-RSP, United States

             District Court, Eastern District of Texas, Marshall Division;

         •   Kasper v. AAC Holdings, Inc., et al., No. 3:15-CV-00923-JPM, United States

             District Court, Middle District of Tennessee, Nashville Division;

         •   In re Facebook, Inc. IPO Securities and Derivative Litigation, MDL No. 12-

             2389, United States District Court, Southern District of New York;

         •   GFI Group, Inc. Securities Litigation, No. 1:14-CV-09438 WHP, United States

             District Court, Southern District of New York;

         •   In re Juno Therapeutics Inc., No. C16-1069 RSM, United States District Court,

             Western District of Washington at Seattle;

         •   Zacharia v. Straight Path Communications, Inc. et al., Case No. 2:15-CV-

             08051-JMV-MF, United States District Court, District of New Jersey;

         •   In re DFC Global Corp. Securities Litigation, Civ. A. No. 2:13-CV-06731-

             BMS, United States District Court, Eastern District of Pennsylvania;

         •   In re Berkshire Realty Company, Inc. Shareholder Litigation, C.A. No. 17242,

             Court of Chancery, State of Delaware in and for New Castle County;




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         •   Lipson, et al. v. Simon et al., 98-CV-4573 (TCP), United States District Court,

             Eastern District of New York;

         •   In re Service Corporation International, Civil Action H-99-280, United States

             District Court, Southern District of Texas;

         •   Hicks v. Morgan Stanley & Co., 01 Civ. 10071 (RJH), United States District

             Court, Southern District of New York;

         •   High Tide Harry’s, Inc. v. Waste Management Inc. of Florida, 05-CA-009441,

             9th Judicial Circuit, State of Florida;

         •   In re Campbell Soup Co. Securities Litigation, 00-152-JEI, United States

             District Court, District of New Jersey;

         •   Abrams v. Van Kampen Funds, Inc. 01-C-7538, United States District Court,

             Northern District of Illinois;

         •   In re Seitel, Inc. Securities Litigation, No. 02-1566, United States District

             Court, Southern District of Texas;

         •   Stevelman v. Alias Research, Inc., 591-CV-00682 (EBB), United States District

             Court, District of Connecticut;

         •   In re Phoenix Leasing Limited Partnership Litigation, No. 173739, Superior

             Court of the State of California, County of Marin;

         •   In re Nuko Information Systems, Inc., C-97-20471 EAI, United States District

             Court, Northern District of California;

         •   In re PriceSmart Securities Litigation, Master File No. 03-CV-2260-JAH-

             (BLM), United States District Court, Southern District of California;




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         •   In re General Electric Co. Securities Litigation, Civ. No. 09-CIV-1951 (DLC)

             ECF CASE, United States District Court, Southern District of New York;

         •   In re PAR Pharmaceutical Securities Litigation, Master File No. 2:06-03226

             (ES) (SCM), United States District Court, District of New Jersey;

         •   In re ING Groep, N.V. ERISA Litigation, Master File No. 1:09-CV-00400-JEC,

             United States District Court, Northern District of Georgia;

         •   In re Massey Energy Co. Securities Litigation, Civil Action No. 5:10-CV-

             00689-ICB, United States District Court, Southern District of West Virginia;

         •   In re Fannie Mae 2008 Securities Litigation, No. 08-CV-7831, United States

             District Court, Southern District of New York;

         •   In re 2014 Avon Products, Inc. ERISA Litigation, Case No. 1:14-cv-10083,

             United States District Court, Southern District of New York;

         •   In re BioScrip, Inc. Securities Litigation, Civil Action No. 13-CV-6922-AJN,

             United States District Court, Southern District of New York;

         •   In re BP plc Securities Litigation, No. 4:10-MD-02185, United States District

             Court, Southern District of Texas;

         •   The Department of the Treasury of the State of New Jersey and Its Division of

             Investment v. Cliffs Natural Resources Inc., et al., No. 1:14-CV-1031, United

             States District Court, Northern District of Ohio;

         •   In re Eastman Kodak ERISA Litigation, Master File No. 6:12-CV-06051 DGL,

             United States District Court, Western District of New York;

         •   In re NII Holdings, Inc. Securities Litigation, Civ. No. 1:14-CV-00227-LMB-

             JFA, United States District Court, Eastern District of Virginia;


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         •   In re Nu Skin Enterprises, Inc., Securities Litigation, Master File No. 2:14-CV-

             00033-JNP-BCW, United States District Court, District of Utah;

         •   Första AP-Fonden and Danske Invest Management A/S v. St. Jude Medical,

             Inc., et al., Civil No. 12-3070 (JNE/HB), United States District Court, District

             of Minnesota;

         •   In re TIBCO Software Inc. Stockholders Litigation, Consolidated C.A. No.

             10319-CB, Court of Chancery, State of Delaware;

         •   In re Brightview Holdings, Inc. Securities Litigation, Consolidated Civil Action

             Case No. 2019-07222, Court of Common Pleas of Montgomery County,

             Pennsylvania;

         •   David Ronge, Individually and on Behalf of All Others Similarly Situated, v.

             Camping World Holdings, Inc., et al., Consolidated C.A. Case No. 1:18-cv-

             07030, United States District Court, Northern District of Illinois, Eastern

             Division;

         •   In re Caraco Pharmaceutical Laboratories, Ltd. Shareholder Litigation,

             Consolidated Case No. 10-014311-CB, State of Michigan, in the Circuit Court

             for the County of Wayne;

         •   Yellow Dog Partners, LP, Individually and on Behalf of All Others Similarly

             Situated, vs. Curo Group Holdings Corp., et al., C.A. Civil Action No. 2:18-

             cv-02662-JWL-KGG, United States District Court, District of Kansas, Kansas

             City;

         •   Vancouver Alumni Asset Holdings Inc., Individually and on Behalf of All Others

             Similarly Situated, v. Daimler AG, Dieter Zetsche, Bodo Uebber, and Thomas


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             Weber, Master Case No. 16-cv-02942-DSF-KS, Maria Munro, Individually and

             on Behalf of All Others Similarly Situated, v.Daimler AG, Dieter Zetsche, Bodo

             Uebber, and Thomas Weber Case No. 16-cv-03412-DSF-KS, United States

             District Court, Central District of California;

         •   Jennifer Tung, Individually and on Behalf of all Others Similarly Situated, v.

             Dycom Industries, Inc., Steven E. Nielsen and Andrew Deferrari, Case No: 18-

             cv-81448-SINGHAL, United States District Court Southern District of Florida;

         •   In re Henry Schein, Inc. Securities Litigation, Master File No. 1:18-cv-01428-

             MKB-VMS, United States District Court, Eastern District of New York;

         •   In re Impinj, Inc. Securities Litigation, C.A. No. 3:18-cv-05704-RSL, United

             States District Court, Western District of Washington at Seattle;

         •   Richard Di Donato, Individually and On Behalf of All Others Similarly

             Situated, v. Insys Therapeutics, Inc.; et al., Class Action No. CV-16-00302-

             PHX-NVW, United States District Court, for the District of Arizona;

         •   Oklahoma Firefighters Pension and Retirement System, Individually and on

             Behalf of All Others Similarly Situated, v. Lexmark International, Inc., Paul A.

             Rooke, David Reeder and Gary Stromquist, Class Action, Civil Action No.

             1:17-cv-05543-WHP, United States District Court, Southern District of New

             York;

         •   In re Netshoes Securities Litigation, Index No. 157435 / 2018, Supreme Court

             of the State of New York, New York County;




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         •   In re Sequans Communications S.A. Securities Litigation, Class Action, Case

             No. 1:17-cv04665-FB-SJB, United States District Court, Eastern District of

             New York;

         •   Spectrum Brands Holdings, Inc., David M. Maura, Joseph S. Steinberg, George

             C. Nicholson, Curtis Glovier, Frank Iannna, Gerald Luterman, Andrew A.

             McKnight, Andrew Whittaker and HRG Group, Inc., Case No. 2019-CV-

             000982, State of Wisconsin, Circuit Court Branch 3, Dane County;

         •   SEB Investment Management AB, individually and on behalf of all others

             similarly situated, v. Symantec Corporation and Gregory S. Clark, No. C 18-

             02902 WHA, United States District Court, Northern District of California;

         •   United States Steel Corporation, et al., Case No. 2:17-cv-0579-CB, United

             States District Court, Western District of Pennsylvania;

         •   Harry Ploss, as Trustee for the Harry Ploss Trust DTD 8/16/1993, on behalf of

             Plaintiff and all others similarly situated, v. Kraft Foods Group, Inc. and

             Mondelez Global LLC, Case No. 15-cv-02937, United States District Court,

             Northern District of Illinois, Eastern Division;

         •   Richard Medoff v. CVS Caremark Corp., et al., Civil No. 09-cv-544-JNL,

             United States District Court, District of New York;

         •   Norfolk County Retirement System, individually and on behalf of all others

             similarly situated, v. Community Health Systems, Inc., Wayne T. Smith and W.

             Larry Cash, Consolidated Civil Action No.: 11-cv-0433, United States District

             Court for the Middle District of Tennessee, Nashville Division;




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         •   Douglas S. Chabot, et al., Individually and on Behalf of All Others Similarly

             Situated, Plaintiffs v. Walgreens Boots Alliance, Inc., et al., Defendants, Civil

             Action No. 1:18-cv-02118-JEJ-KM, United States District Court, Middle

             District of Pennsylvania;

         •   In re Obalon Therapeutics Inc. Securities Litigation Master File No. 3:18-cv-

             00352-AJB-AHG, United States District Court, Southern District of California

         •   Plymouth County Contributory Retirement System, Individually and on Behaf

             of All Others Similarly Situated, Plaintiff, vs. Adamas Pharmaceuticals, Inc.;

             William Ericson; Martha J. Demski; Ivan Lieberburg; Gregory T. Went;

             Michael F. Bigham; David L. Mahoney; John Macphee; Rajiv Patni; Jennifer

             J. Rhodes; Alfred G. Merriweather; Christopher B. Prentiss; Richard King;

             Mardi C. Dier; Merrill Lynch, Pierce, Fenner, & Smith Incoporated; Leerink

             Partners LLC; and Evercore Group L.L.C., Case No.; RG19018715, Superior

             Court of the State of California for the County of Alameda;

         •   Harry Ploss, as Trustee for the Harry Ploss Trust DTD 8/16/1993, on behalf of

             Plaintiff and all others similarly situated, Plaintiffs, v. Kraft Foods Group, Inc.

             and Mondelez Global LLC, Defendants. Case No.; 15-cv-02937, In the United

             States District Court for the Northern District of Illinois Eastern Division;

         •   In re Perrigo Company PLC Securities Litigation, Case No.; 1:19-cv-00070-

             DLC, United States District Court Southern District of New York;

         •   In re Qudian Inc. Securities Litigation, Master File No.: 1:17-cv-09741-JMF,

             United States District Court Southern District of New York;




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     Consumer Cases


         •   Charles Roberts, an individual, and Kenneth McKay, an individual, on Behalf

             of Themselves and Others Similarly Situated v. C.R. England, Inc., a Utah

             Corporation; and Opportunity Leasing, Inc., a Utah Corporation, Civil Case

             No. 2:12-cv-00302, United States District Court, District of Utah, Central

             Division;

         •   State of Washington v. Motel 6 Operating L.P. and G6 Hospitality LLC, No.

             18-2-00283-4 SEA, Superior Court of the State of Washington King County;

         •   Wave Lengths Hair Salons of Florida, Inc., on Behalf of Itself and All Others

             Similarly Situated, d/b/a Salon Adrian v. CBL & Associates Properties, Inc.,

             CBL & Associates Management, Inc., CBL & Associates Limited Partnership,

             and JC Gulf Coast Town Center, LLC, No. 2:16-cv-206-FtM-PAM-MRM,

             United States District Court, Middle District of Florida, Fort Myers Division;

         •   In re: Vizio, Inc., Consumer Privacy Litigation, No. 8:16-ml-02693-JLS

             (KESx), United States District Court, Central District of California, Santa Ana

             Division;

         •   In re Google LLC Streetview Electronic Communications Litigation, Case No.

             5:10-md-02184, United States District Court, Northern District of California,

             San Francisco Division;

         •   MSPA Claims 1, LLC v. Ocean Harbor Cas. Ins. Co., No. 2015-1946 CA-01,

             Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County,

             Florida;




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         •   Valle v. Popular Community Bank, No. 653936/2012, Supreme Court, State of

             New York, County of New York;

         •   Bizarro, et al., v. Ocean County, No. OCN-1644-17, Superior Court of New

             Jersey, Law Division, Ocean County;

         •   Christina Martin et al. v. the State of Washington, et al., No 14-2-00016-7,

             Superior Court, State of Washington, County of Spokane;

         •   Picant v. Premier Cruise Lines, 96-06932-CA-FN, 18th Judicial Circuit, State

             of Florida;

         •   McParland and Picking v. Keystone Health Plan Central, Inc., Civil Action No.

             98-SU- 00770-01, Court of Common Pleas, York County, Pennsylvania;

         •   Smith v. American Family Mutual Automobile Insurance Co., No. 00-CV-

             211554, Circuit Court of Jackson County, Missouri;

         •   Phil Shin, on Behalf of Himself and All Others Similarly Situated v. Plantronics,

             Inc., No. 5:18-cv-05626-NC, United States District Court, Northern District of

             California;

         •   Lincoln Adventures, LLC, a Delaware Limited Liability Company and

             Michigan Multi-King, Inc., a Michigan Corporation, on Behalf of Themselves

             and All Those Similarly Situated v. Those Certain Underwriters at Lloyd’s,

             London Members of Syndicates, et al., No. 2:08-cv-00235-CCC-JAD, United

             States District Court, Court of New Jersey;




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         •   Scott Meeker and Erin Meeker, Kelly Goodwin, Bruce Ely and Kristi Hauke,

             Elizabeth Borte and Rino Pasini, Christian Miner, and Judy Sanseri and

             Howard Banich; Individually and on Behalf of All Others Similarly Situated v.

             Bullseye Glass Co., an Oregon Corporation, Civil Action No. 16CV07002, In

             the Circuit Court of the State of Oregon, County of Multnomah;

         •   Duncan v. The Unity Life and Accident Insurance Association, et al., Civil

             Action No. 00-CIV-7621, United States District Court, Southern District of

             New York;

         •   Duncan v. Columbian Protective Association of Binghamton, New York, and

             Columbian Mutual Life Insurance Company, No. 00 CIV. 7236 (JGK), United

             States District Court, Southern District of New York;

         •   Watkins, as Executrix of the Estate of Hines, and as Beneficiary of the Adult

             Whole Life Industrial Policy of Hines, v. Columbian Mutual Life Insurance

             Company, a Subsidiary of Columbian Financial Group, and Golden Eagle

             Mutual Life Insurance Corporation, No. 03 CIV. 8620 (JGK), United States

             District Court, Southern District of New York;

         •   In re: Benzion v. Vivint, Inc., No. 12-CV-61826-WJZ, United States District

             Court, Southern District of Florida;

         •   In re: ADT Security Services, Inc., No. 1:11-CV-1925, United States District

             Court, Northeastern District of Illinois;

         •   The State of Illinois v. Au Optronics Corporation, et al., No. 10 CH 34472,

             Circuit Court of Cook County, Illinois;




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         •   State of Washington v. AU Optronics Corporation, et al., No. 10-2-29164-4

             SEA, King County Superior Court, Washington;

         •   LLE One, LLC, et al. v. Facebook, Inc., Case No. 4:16-cv-06232-JSW, United
             States District

             Court, Northern District of California;
         •   Mey v. Interstate National Dealer Services, Inc., et al., No. 1:14-CV-01846-

             ELR, United States District Court, Northern District of Georgia;

         •   Estakhrian, et al., v. Obenstine, et al., No. CV11-3480-FMO (CWx), Nevada

             District Court;

         •   Krakauer v. DISH Network, L.L.C., Civil Action No. 14-CV-333, United States

             District Court, Middle District of North Carolina;

         •   Lofton v. Verizon Wireless (VAW) LLC, No. 13-CV-05665-YGR, United States

             District Court, Northern District of California;

         •   Lyons, et al., v. Litton Loan Servicing, LP, et al., No. 13-CV-00513, United

             States District Court, Southern District of New York;

         •   Katz, et al. v. Live Nation, Inc., et al., Civil Action No. 1:09-CV-003740-MLC-

             DEA, United States District Court, District of New Jersey;

         •   Bergman, et al. v. DAP Products Inc., et al., No. 14-CV-03205-RDB, United

             States District Court, District of Maryland;

         •   In re Google LLC Street View Electronic Communications Litigation, Case No.

             3:10-md-02184-CRB, United States District Court, Northern District of

             California, San Francisco Division;

         •   State of Washington v. Motel 6 Operating L.P. and G6 Hospitality LLC, No.

             18-2-00283-4 SEA, Superior Court of the State of Washington King County;


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         •   Valle v. Popular Community Bank, No. 653936/2012, Supreme Court, State of

             New York, County of New York;

         •   Royce Solomon, et al., individually and on behalf of all others similarly

             situated, v. American Web Loan, Inc., et al., Class Action, Civil Action No.

             4:17-cv-0145-HCM-RJK, United States District Court, Eastern District of

             Virginia, Newport News Division;

         •   Arandell Corporation, et al., v. Xcel Energy, Inc., et al., Case No.: 3:07-cv-

             00076-wme; Newpage Wisconsin System Inc., v. CMS Energy Resource

             Management Company, et al., Case No.:3:09-cv-00240-wme, United States

             District Court for the Western District of Wisconsin.




  Mile Marker Zero, LLC, Greenville, SC

         Principal
         Directed the development of marketing and advertising plans for
         national and local clients, including the following:


        • Complete Claim Solutions, Inc.
     Mile Marker Zero worked with Complete Claim Solutions, Inc., for six
     years as its sole media planning and buying partner. Mile Marker Zero
     developed and implemented national and international print and earned
     media notice programs to support the notification of consumers and third-
     party payors in cases such as the following:




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      Coumadin-                    Taxol                     Van Kampen
      Warfarin
      Hytrin                       Waste                     Unity Life
                                   Management                Insurance Co.
      Cardizem                     Campbell                  Premier
                                   Soup                      Cruise Lines
      Buspar                       Alias                     MedCo
                                   Research
      Nuko                         Augmentin                 Berkshire
                                                             Realty
      Columbian                    Keystone                  Platinol
      Mutual Life                  Health Plan
      Freeport-                    Seitel, Inc.              Transaction
      McMoRan                      Securities                System
                                                             Architects
      Sulpher, Inc.                Relefen                   Remeron
      Service                      3M-Scotch                 Baycol
      Corporation
      International
      Smartforce,                  American                  Eaton Vance
      PLC                          Family                    Corp.
                                   Mutual
                                   Automobile
                                   Insurance Co.
      Cipro                        PriceSmart                Premarin
      Morgan
      Stanley


     Other clients include:
        •     The National Arthritis Foundation
        •     Papa Murphy’s Pizza
        •     FIERO (Fire Industry Equipment Research
              Organization) – national fire services association.
        •     TeamPoint Systems, Inc. – a global software company



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     Denny’s Corporation, Spartanburg, SC
         Senior National Advertising Manager


     The Coca-Cola Company, Atlanta, GA
         Advertising Services Manager

     McCann Erickson, Atlanta, GA
         Media Supervisor


     EDUCATION
     Bachelor of Business Administration, University of North Dakota




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